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                   IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION


 TONYA CLAY, et al.,                           Case No. 1:18 CV 2929

         Plaintiffs,                           Judge Solomon Oliver, Jr.

 -vs-

 CUYAHOGA COUNTY, et al.,

          Defendants.


   JOINT STATUS REPORT CONCERNING SETTLEMENT NEGOTIATIONS PROCESS



        Plaintiffs and the Cuyahoga County Defendants (“Parties”) now submit this

joint report of the status of the settlement negotiations. Parties have made progress

in their discussions and expect that the terms will be finalized before the end of the

year.

        As noted in the joint report filed on September 30, 2022, parties have continued

working on a plan to address the remaining recommendations of the Joint Expert.

Though the process has taken a little longer than expected, they now believe that the

terms will be finalized within 30 days.

        The Parties will update the Court if there are issues or the Parties have

reached an impasse on their negotiations. So far, the Parties do not anticipate any

problems. Accordingly, the Parties respectfully ask this Court to continue to hold this
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case in abeyance, pending the Parties’ ongoing efforts toward finalizing the potential

resolution.


Respectfully submitted,

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                          CERTIFICATE OF SERVICE

       I hereby certify that on November __14_____, 2022 a copy of the foregoing was
filed electronically. Notice of this filing will be sent to all registered parties by
operation of the Court’s electronic filing system. Parties may access this filing
through the Court’s system.

                                       /s/ Sarah Gelsomino
                                       Sarah Gelsomino (0084340)
                                       One of the Attorneys for Plaintiffs




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